Case 3:09-cr-00028-MCR   Document 157   Filed 12/24/09   Page 1 of 7
Case 3:09-cr-00028-MCR   Document 157   Filed 12/24/09   Page 2 of 7
Case 3:09-cr-00028-MCR   Document 157   Filed 12/24/09   Page 3 of 7
Case 3:09-cr-00028-MCR   Document 157   Filed 12/24/09   Page 4 of 7
Case 3:09-cr-00028-MCR   Document 157   Filed 12/24/09   Page 5 of 7
Case 3:09-cr-00028-MCR   Document 157   Filed 12/24/09   Page 6 of 7
Case 3:09-cr-00028-MCR   Document 157   Filed 12/24/09   Page 7 of 7
